        Case 3:11-cr-01440-BEN                       Document 84              Filed 09/07/16              PageID.221             Page 1 of 2

   ~AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations

               Sheet 1

                                                                                                                .,t\LEO
                                           UNITED STATES DISTRICT COUNSKP -1 ptUlt It',
                                                 SOUTHERN DISTRICT OF CALIFORNI~"iI~i<\j;.~_
                  UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE.                                '6'0
                                      V.                                          (For Revocation ofPrq!W;ion or Supervised Rele~
                ABIGAIL GRACE AZHOCAR (I)                                        (For Offenses Committe'U'bn or After November I, 1987)

                                                                                  Case Number: 11 CRI440-BEN

                                                                                  RICHARD BRIAN RODRIGUEZ
                                                                                  Defendant's Attorney
   REGISTRATION No. 25195298
o THE DEFENDANT:
   o admitted guilt to violation ofallegation(s) No,.;:2..;O::.;F_TH=E::..:;O,:;RD=E",R;,.;T:.;O;;..,;;SH=O..;,W,-C.:,A;,,:U=SE:::.,.'_ _ _ _ _ _ _ _ _ _ _ __
   o was found in violation of allegation(s) No, _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
   ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

   Allegation Number           Nature of Violation
           2         Committed a federal, state or local offense (nvl)




     Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                      2       of this judgment.
  This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


            IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
  change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
  fully paid, If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
  defendant's economic circumstances.

                                                                                  AUGUST 30, 2016




                                                                                                      Z
                                                                                  UNITED STATES DISTRICT JUDGE




                                                                                                                                        IICRI440-BEN
   "     Case 3:11-cr-01440-BEN                       Document 84            Filed 09/07/16         PageID.222        Page 2 of 2
AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                     Judgment - Page _...:.2_ of    2
 DEFENDANT: ABIGAIL GRACE AZHOCAR (I)
 CASE NUMBER: llCRI440-BEN
                                                                  IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          EIGHTEEN (18) MONTHS.




       D The court makes the following recommendations to the Bureau of Prisons:




       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
             D at                                      Da.m.         Op.m.    on
                as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o    before
                         ---------------------------------------------------
           o    as notified by the United States Marshal.
            D   as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                        to

 at                                                       with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL


                                                                             By ________~==~==~~~~~--------
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                             llCRI440-BEN
